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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )   CASE NO. 2:09-CR-72-WKW
                                          )
WILLIAM SINGLETON                         )
KENNETH ANDREW STONE                      )

                                      ORDER

      It is ORDERED that the motions (Docs. # 375, 382) to dismiss the superseding

indictment (Doc. # 130) against Defendants William Singleton and Kenneth Andrew Stone

are GRANTED.

      DONE this 29th day of December, 2009.

                                    /s/ W. Keith Watkins
                                UNITED STATES DISTRICT JUDGE
